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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                      West Palm Beach Division

                                    Case No.: 21-81761-CIV-CANNON

         RADICAL INVESTMENTS LTD.,                 )
         a St. Lucia Company,                      )
                                                   )
                                                   )
                                                   )
                       Plaintiff,                  )
                                                   )
                       v.                          )
                                                   )
         GOOD VIBRATIONS ENTERTAINMENT )
         LLC, a Florida Limited Liability Company, )
         et al.,                                   )
                                                   )
                                                   )
                                                   )
                       Defendants.                 )
                                                   /


        RADICAL INVESTMENTS LTD.’S NOTICE OF STRIKING ANSWER AND
             AFFIRMATIVE DEFENSES TO COUNTERCLAIM [DE #43]
         COMES NOW, RADICAL INVESTMENTS LTD. (“RIL”), Plaintiff in the above-

  captioned lawsuit, by and through the undersigned counsel, and hereby files a Notice of Striking

  its Answer and Affirmative Defenses to Counterclaim [DE #43], and states as follows:

         1.       On Friday, February 18, 2022, the Plaintiff in the above-captioned action filed its

  Answer and Affirmative Defenses to Defendant Good Vibrations Entertainment LLC’s Counter-

  Complaint [DE #43].

         2.       Undersigned counsel for Plaintiff, Steven B. Herzberg, Esq. who has appeared in

  this action on Plaintiff’s behalf, filed Plaintiff’s Answer and Affirmative Defenses to

  Counterclaim.



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          3.        Due to a clerical error, undersigned’s name was not entered on the signature block

  of said filing.

          4.        On February 22, 2022, the Clerk issued a Notice To Filer, which stated that due to

  this clerical error, Plaintiff must file a Notice of Striking Docket Entry #43 and must re-file the

  document pursuant to CM/ECF Procedures.

          5.        Plaintiff will file contemporaneously with this Notice of Striking a corrected

  version of its Answer and Affirmative Defenses, amended only as to the signature block.




  Dated: February 23, 2022

                                                                Respectfully submitted,

                                                                VAZQUEZ & ASSOCIATES
                                                                Attorneys for Plaintiff
                                                                1111 Brickell Avenue Suite 1550
                                                                Miami, Florida 33131
                                                                Telephone (305) 371-8064
                                                                Facsimile (305) 371-4967

                                                 By:            /s/ Steven B. Herzberg
                                                                STEVEN B. HERZBERG, ESQ.
                                                                Florida Bar No.: 111541
                                                                sh@gvazquez.com
                                                                GERARDO A. VAZQUEZ, ESQ.
                                                                Florida Bar No.: 006904
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                                                                RALPH R. LONGO IV, ESQ.
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                                                                rl@gvazquez.com




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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 23rd day of February 2022 I caused a true and correct

  copy of this document to be filed and served upon all counsel of record electronically by means of

  the Court’s CM/ECF system.


                                               By:            /s/ Steven B. Herzberg
                                                              STEVEN B. HERZBERG, ESQ.
                                                              Florida Bar No.: 111541
                                                              sh@gvazquez.com
                                                              GERARDO A. VAZQUEZ, ESQ.
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